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IN THE UNITED sTATEs DISTRICT coURT
FoR THE soUTHERN DIsTRIcT oF 0H10 WJ v[\ , ,` n_j

EASTERN DIvIsIoN ZMBLF*"C Y“ 5'¥8
UNITED sTATEs oF AMERICA 1 fww;§f

v. Case No: 2:0€?~02"5;`! `-
21 U.s.c. §a41(a)(1)
21 U.s.c. §B41(b)(1)(B)(vii)

 

 

(1) DANIEL vANcE wALLs, 21 U.s.c. 5346
aka Fly, 18 U.S.C. §2

(2) MARK L. MAY, ,_1

(3) JosE GUADALUPE cANEz, `\J°DG£~#;@°ST'

aka Lupe,
(4) RAYMUNDO CARRANZA

I N D I C T M E N T
THE GRAND JURY CHARGES:
COUNT l

Beginning in late 1997 or early 1998, through on or about
March 26, 2008, the exact dates being unknown to the Grand Jury,
in the Southern District of Ohio and elsewhere, the defendant,
DANIEL VANCE WALLS, aka Fly, did knowingly and intentionally
combine, conspire, confederate and agree with other persons, both
known and unknown to the Grand Jury, to unlawfully distribute and
possess with intent to distribute 100 kilograms or more of

marijuanar a Schedule I controlled substance, in violation of 21

U.S.C. §B4l(a)(l) and 21 U.S.C. §84l(b)(l}(B)(vii).

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It was part of the conspiracy that the defendant, DANIEL
VANCE WALLS, and co-conspirators, both known and unknown to the
Grand Jury, would obtain quantities of marijuana from several
different sources of supply throughout the course of this
conspiracy, which, they would, in turn, distribute to his
customer base in southern Ohio.

It was further part of the conspiracy that the defendant,
DANIEL VANCE WALLS, and co-conspirators, both known and unknown
to the Grand Jury, would recruit couriers to transport loads of
marijuana to Ohio for further distribution.

It was further part of the conspiracy that the defendant,
DANIEL VANCE WALLS, and co-conspirators, both known and unknown,
would obtain substantial quantities of U.S. currency as a result
of their marijuana distribution activities, which they utilized
to further their marijuana business, invest in other business
ventures and to sustain their own lifestyles.

In violation of 21 U.S.C. §846.

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COUNT 2

On or about October 17, 2004, the exact dates being unknown
to the Grand Jury, in the Southern District of Ohio and
elsewhere, defendants, DANIEL VANCE WALLS, aka Fly, MARK L. MAY,
JOSE GUADALUPE CANEZ, aka Lupe, and RAYMUNDO CARRANZA, did
knowingly and intentionally unlawfully attempt to possess with
intent to distribute over 100 kilograms of marijuana, a Schedule
I controlled substance.

In violation of 21 U.S.C. §841(a)(1), 21 U.S.C.
§841(b)(l)(B)(Vii), 21 U.S.C. §846 and lB U.S.C. §2.

A True Bill.

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YWC’. Z,M'M,/

ROBERT BRIC§ZER

Chief,

Organized Crime Drug Enforcement
Task Force

